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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CHICAGO TILE INSTITUTE WELFARE                      )
PLAN, CHICAGO TILE INSTITUTE                        )
PENSION PLAN, CERAMIC TILE AND                      )
TERRAZZO LOCAL 21 B.A.C ANNUITY                     ) CASE #: 2025 CV 5742
PLAN, and the CERAMIC TILE, TERRAZZO                )
AND GRANITE CUTTERS UNION LOCAL                     )
NO. 21,                                             )
                                                    )
                                                    )
                               Plaintiffs,          ) CIVIL ACTION
                                                    )
                       v.                           )
                                                    )
GRANITE INNOVATION, INC.,                           )
                                                    )
                               Defendant.           )

                                        COMPLAINT


       Plaintiffs, the CHICAGO TILE INSTITUTE WELFARE PLAN, et al., by their attorneys,

MICHAEL J. MCGUIRE and the law firm of MARCO, MCGUIRE & ARREOLA, LLC

complain of the Defendant, GRANITE INNOVATION, INC., and allege as follows:


       1.      This action arises under Section 502 of the Employee Retirement Income Security

Act (hereinafter referred to as "ERISA") and Section 301 of the Taft-Hartley Act. (29 U.S.C.

§§1132 and 185). Jurisdiction is founded on the existence of questions arising thereunder.


       2.      The CHICAGO TILE INSTITUTE WELFARE PLAN, the CHICAGO TILE

INSTITUTE PENSION PLAN, and the CERAMIC TILE AND TERRAZZO LOCAL 21 B.A.C

ANNUITY PLAN, (hereinafter referred to as the “Trust Funds”) receive contributions from

numerous employers pursuant to Collective Bargaining Agreements between the employers and

the CERAMIC TILE, TERRAZZO, AND GRANITE CUTTERS UNION LOCAL NO. 21.

(hereinafter referred to as the “Union”).
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         3.     The Trust Funds are multi-employer plans as defined under 29 U.S.C. § 1002.


         4.     The Trust Funds are administered at 660 N. Industrial Drive, Suite 102, Elmhurst,

Illinois, 60126 and venue is proper in the Northern District of Illinois.


         5.     The Defendant is an employer engaged in an industry affecting commerce which

entered into a Memorandum of Agreement the Union. (Exhibit A). The Memorandum of

Agreement binds the Defendant to the terms of the Trust Agreements which created the Trust

Funds.


         6.     The CBA and Trust Agreements require the Defendant to submit monthly reports

listing the hours worked by its bargaining unit employees (hereinafter referred to as "monthly

contribution reports") and to make concurrent payment of contributions to the Trust Funds based

upon the hours worked by said employees. In addition, the Defendant is required to make

contributions to the Trust Funds measured by the hours worked by its subcontractors who are not

signatory to a CBA with the Union.


         7.     The CBA and Trust Agreements also require the Defendant to submit its books

and records to a third-party auditor so that a fringe benefit compliance audit may take place.

Plaintiffs are required to determine if the Defendant is in compliance with its obligations to

contribute to Plaintiffs under the CBA and Trust Agreements.


         8.     The CBA and Trust Agreements provide that employers who do not timely pay

fringe benefit contributions are also liable for liquidated damages, interest, reasonable attorney’s

fees, court costs, audit fees, and other reasonable costs incurred in the collection process.


         9      The Defendant breached the provisions of the CBA and Trust Agreements by

failing to submit timely reports and contributions for the time period of April 1, 2021, through

September 30, 2024, as shown by a fringe benefit compliance audit.
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       10.     As a result of said breach, the Defendant is also liable to the plaintiffs for the

following ancillary damages:

               a. attorney fees and costs pursuant to the CBA and 29 U.S.C. §1132(g)(2)(D);
                  and either

               b. liquidated damages and interest pursuant to the CBA, Trust Agreements and
                  29 U.S.C. §1132(g)(2)(B); or

               c. double interest pursuant to E.R.I.S.A., 29 U.S.C. §1132(g)(2)(C).

WHEREFORE, Plaintiffs pray:

        A.     That the Defendant be ordered to submit all contributions shown to be due
               in the audit for the time period of April 1, 202,1 through September 30,
               2024.

        B.     That the Defendant be ordered to pay interest on the amount that is due
               pursuant to 29 U.S.C. §1132(g)(2)(B).

        C.     That the Defendant be ordered to pay interest or liquidated damages on
               any amount that is due pursuant to 29 U.S.C. §1132(g)(2)(C).

        D.     That the Defendant be ordered to pay the reasonable attorney fees and
               costs incurred by the Plaintiffs.

        E.     That Plaintiffs have such other and further relief as the Court deems just
               and equitable.
                                              BY:      _/s/ Michael J. McGuire___
                                                            Michael J. McGuire

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